           Case 1:24-bk-11323-VK          Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25       Desc
                                           Main Document    Page 1 of 60


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           8
                                      UNITED STATES BANKRUPTCY COURT
           9                           CENTRAL DISTRICT OF CALIFORNIA
          10                            SAN FERNANDO VALLEY DIVISION

          11   In re                                          Case No. 1:24-bk-11323-VK

               Irwin Naturals et al.,                         Chapter 11
          12
                                                              Jointly Administered With:
          13                            Debtors and Debtors
                                        in Possession.        Case No. 1:24-bk-11324-VK
          14                                                  Case No. 1:24-bk-11325-VK
                                                              Case No. 1:24-bk-11326-VK
          15    Affects Irwin Naturals
                                                              EMERGENCY MOTION FOR AN ORDER
          16    Affects Irwin Naturals Inc.                  (1) AUTHORIZING, BUT NOT
                                                              REQUIRING, DEBTOR TO PAY
          17    Affects 5310 Holdings, LLC                   PREPETITION (A) WAGES, SALARIES,
                                                              AND OTHER COMPENSATION,
          18    Affects DAI US HoldCo Inc.                   (B) EMPLOYEE MEDICAL, WORKERS’
                                                              COMPENSATION, PAID TIME OFF, AND
          19    Affects All Debtors                          SIMILAR BENEFITS, AND (C)
                                                              REIMBURSABLE EMPLOYEE
          20                                                  EXPENSES; (2) AUTHORIZING AND
                                                              DIRECTING APPLICABLE BANKS AND
          21                                                  OTHER FINANCIAL INSTITUTIONS TO
                                                              RECEIVE, PROCESS, HONOR, AND PAY
          22                                                  CHECKS PRESENTED FOR PAYMENT
                                                              AND TO HONOR FUND TRANSFER
          23                                                  REQUESTS; AND (3) RELATED RELIEF;
                                                              MEMORANDUM OF POINTS AND
          24                                                  AUTHORITIES IN SUPPORT THEREOF
          25                                                  Declaration of Klee Irwin Filed Concurrently
                                                              Herewith
          26                                                  Hearing:
                                                              Date:   August 16, 2024
          27                                                  Time: 1:30 p.m.
                                                              Place: Courtroom 301
          28




3000631
           Case 1:24-bk-11323-VK                Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                                           Desc
                                                 Main Document    Page 2 of 60


           1                                                    TABLE OF CONTENTS
                                                                                                                                                 Page
           2

           3   I.     FACTUAL BACKGROUND ..............................................................................................3

           4          A.        General Case Background........................................................................................3

           5          B.        Description of the Debtors’ Businesses, Ownership Structure, and
                                Management .............................................................................................................3
           6
                      C.        The Debtor’s Workforce ..........................................................................................4
           7
                      D.        Prepetition Wages ....................................................................................................5
           8
                      E.        Employee Benefits ...................................................................................................6
           9
                      F.        Reimbursable Expenses ...........................................................................................8
          10
                      G.        Paid Time Off ..........................................................................................................8
          11
                      H.        Summary of Employee Obligations. ........................................................................8
          12
               II.    ARGUMENT .......................................................................................................................9
          13
                      A.        The Court Has Authority to Authorize Payment of Employee Obligations. ...........9
          14
                      B.        The Estate Will Suffer No Prejudice As a Result of the Motion Because the
          15                    Prepetition Wages, Employee Benefits, and Employee Expenses are Priority
                                Claims Under Bankruptcy Code Section 507(a)(4). ..............................................12
          16
                      C.        Honoring of Checks and Transfers Related to Employee Obligations and
          17                    Maintenance of Payroll Accounts. .........................................................................13

          18          D.        The ADP Agreement Should Be Assumed Under Section 365 of the
                                Bankruptcy Code ...................................................................................................14
          19
                      E.        The Order Should Be Effective Immediately ........................................................15
          20
               III.   CONCLUSION ..................................................................................................................15
          21

          22

          23

          24

          25

          26

          27

          28



                                                                                   i
3000631
           Case 1:24-bk-11323-VK                     Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                                            Desc
                                                      Main Document    Page 3 of 60


           1                                                      TABLE OF AUTHORITIES
                                                                                                                                                       Page
           2

           3                                                                       CASES

           4   In re All Seasons Industries, Inc.,
                       121 B.R. 822 (Bankr. N.D. Ind. 1990)...............................................................................12
           5
               In re Chateaugay Corp.,
           6          116 B.R. 887 (Bankr. S.D.N.Y. 1990) .................................................................................9

           7   In re G.I. Indus., Inc.,
                      204 F3d 1276, 1282 (9th Cir. 2000) ..................................................................................13
           8
               In re Gulf Air, Inc.,
           9          112 B.R. 152 (Bankr. W.D. La. 1989) ...............................................................................10

          10   In re Ionosphere Clubs, Inc.,
                       98 B.R. 174 (Bankr. S.D.N.Y. 1989) ...................................................................................9
          11
               In re Lehigh & New England Railway Co.,
          12           657 F.2d 570 (3d Cir. 1981).................................................................................................9

          13   In re News Publishing Company,
                      488 B.R. 241 (Bankr. N.D. Ga. 2013) ...............................................................................12
          14
               In re Pacific Forest Industries, Inc.,
          15          95 B.R. 740 (Bankr. C.D. Cal. 1989).................................................................................12

          16   In re Pomona Valley Med. Group, Inc.,
                      476 F3d 665, 670 (9th Cir. 2007) ......................................................................................13
          17
               Summit Land Co. v. Allen (In re Summit Land Co.),
          18         13 B.R. 310, 315 (Bankr. D. Utah 1981) ...........................................................................13

          19
                                                                                STATUTES
          20
               11 U.S.C. § 105(a) ...........................................................................................................................9
          21
               11 U.S.C. § 1107(a) .........................................................................................................................3
          22
               11 U.S.C. § 1108 ..............................................................................................................................3
          23
               11 U.S.C. § 365(a) .........................................................................................................................13
          24
               11 U.S.C. § 507(a)(4).......................................................................................................6, 9, 11, 12
          25
               11 U.S.C. § 507(a)(8).......................................................................................................................6
          26
               11 U.S.C. § 507(a)(8)(C) .................................................................................................................6
          27

          28



                                                                                        ii
3000631
           Case 1:24-bk-11323-VK                    Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                                          Desc
                                                     Main Document    Page 4 of 60


           1                                                                     RULES

           2   Fed. R. Bankr. P. 6003 ...................................................................................................................14
           3   Fed. R. Bankr. P. 6004(h) ..........................................................................................................2, 14
           4   Local Bankruptcy Rule 2080-1(a)(6) .............................................................................................10
           5

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                                                                                      iii
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                          Main Document    Page 5 of 60


           1          Irwin Naturals, a Nevada corporation and the chapter 11 debtor and debtor in possession

           2   herein (the “Debtor” or “Irwin Nevada”), hereby files its emergency motion (the “Motion”) for entry

           3   of an order pursuant to sections 105(a), 363(b), 507(a), 1107(a), and 1108 of Title 11 of the United

           4   States Code (“Bankruptcy Code”), (1) authorizing, but not directing, the Debtor to pay or honor in

           5   its discretion certain Employee Obligations (defined in the annexed Memorandum of Points and

           6   Authorities); (2) authorizing and directing the applicable banks and other financial institutions to

           7   receive, process, honor, and pay all checks presented for payment and to honor all electronic

           8   payment requests made by the Debtor relating to the foregoing; and (3) for related relief.

           9          The Debtor employs approximately 55 employees, plus 5 consultants that are independent

          10   contractors, plus 2 temporary employees who are directly compensated through a staffing agency

          11   (the “Staffed Employees,” and collectively with the other employees and independent contractors,

          12   the “Employees”). The Employees, other than the Staffed Employees, are all paid on a bi-weekly

          13   basis, in arrears, a week after the payroll period has ended. With regard to the Staffed Employees,

          14   the Debtor receives weekly or monthly invoices directly from the staffing agency, who then in turn

          15   pays the Staffed Employees. The spreadsheet attached as Exhibit 2 to the Declaration of Klee Irwin

          16   (“Irwin Declaration”) filed concurrently herewith reflects the pre-petition wages (including payroll

          17   taxes) owed to the Employees for the period August 5, 2024 through August 9, 2024.

          18          The Debtor’s employees are vital to the continued operation of the Debtor’s business and its

          19   successful reorganization. Payment of and otherwise honoring the Employee Obligations is

          20   necessary to continue the Debtor’s business operations and prevent the Debtor’s employees from

          21   experiencing extreme personal hardship or seeking employment elsewhere. Moreover, these claims

          22   are entitled to priority pursuant to sections 507(a)(4) and (a)(8) of the Bankruptcy Code and must be

          23   paid ahead of general unsecured claims; thus, the Debtor’s payment of the Employee Obligations in

          24   the ordinary course of business will not prejudice general unsecured creditors or materially affect the

          25   Debtor’s bankruptcy estate.

          26          PLEASE TAKE FURTHER NOTICE that if you wish to object to the relief sought by the

          27   Motion, oppositions may be made orally at the hearing as set forth in the accompanying Notice of

          28   Emergency Motions. Your failure to timely object may be deemed by the Court to constitute


                                                                  1
3000631
           Case 1:24-bk-11323-VK             Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25               Desc
                                              Main Document    Page 6 of 60


           1   consent to the relief requested herein.

           2          PLEASE TAKE FURTHER NOTICE that the Motion is based on this Motion and

           3   attached Memorandum of Points and Authorities, the concurrently filed Irwin Declaration and

           4   evidence appended thereto, the arguments of counsel and other admissible evidence properly

           5   brought before the Court at or before the hearing on this Motion.

           6          WHEREFORE, the Debtor respectfully requests that this Court enter an order granting the

           7   Motion in its entirety and:

           8          1.        Authorizing, but not directing, Debtor to pay or honor in its discretion certain

           9   Employee Obligations more specifically described in the Motion,

          10          2.        Authorizing and directing the applicable banks and other financial institutions to

          11   receive, process, honor, and pay all checks presented for payment and to honor all electronic

          12   payment requests made by the Debtor relating to the foregoing,

          13          3.        Approving the assumption of the ADP Agreement in connection with the employee

          14   compensation and benefits,

          15          4.        Waiving any stay of the effectiveness of the order granting this Motion pursuant to

          16   Bankruptcy Rule 6004(h), and

          17          5.        Granting such other and further relief as the Court deems just and proper under the

          18   circumstances.

          19   DATED: August 15, 2024                           BG LAW LLP
          20

          21                                                    By: /s/ Jessica S. Wellington
                                                                    David M. Poitras
          22                                                        Susan K. Seflin
                                                                    Jessica S. Wellington
          23                                                    Proposed Attorneys for Chapter 11
                                                                Debtor and Debtor in Possession
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                                                                    2
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                Desc
                                          Main Document    Page 7 of 60


           1                         MEMORANDUM OF POINTS AND AUTHORITIES

           2   I.     FACTUAL BACKGROUND

           3          A.      General Case Background

           4          1.      On August 9, 2024 (the “Petition Date”), Irwin Naturals, a Nevada corporation

           5   (“Irwin Nevada” or the “Debtor”) filed a voluntary petition for relief under chapter 11 of Title 11 of

           6   the United States Code (the “Bankruptcy Code”), commencing the above-captioned bankruptcy case.

           7   Also on the Petition Date, Irwin Nevada’s affiliates Irwin Naturals Inc. (“Irwin Canada”), 5310

           8   Holdings, LLC (“Holdings”), and DAI US HoldCo Inc. (“DAI,” and collectively with Irwin Nevada,

           9   Irwin Canada, and Holdings, the “Debtors”), each filed voluntary chapter 11 petitions, commencing

          10   Bankruptcy Case Nos. 1:24-bk-11324-VK, 1:24-bk-11325-VK, and 1:24-bk-11326-VK,

          11   respectively. On August 14, 2024, the Court entered an order granting the Debtors’ motions to

          12   approve joint administration of their respective chapter 11 cases.

          13          2.      The Debtors continue to operate their businesses and manage their affairs as debtors

          14   in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner,

          15   or committee has been appointed in the Debtors’ chapter 11 cases.

          16          B.      Description of the Debtors’ Businesses, Ownership Structure, and Management

          17          3.      Irwin Nevada is a popular dietary supplement company that was founded by Klee

          18   Irwin in 1994, the same year that Congress first enacted legislation to define and regulate dietary

          19   supplements. Since that time, Mr. Irwin and his management group have operated the nutraceutical

          20   businesses.

          21          4.      Irwin Nevada formulates, markets, and distributes vitamins and supplements. In

          22   addition to its Irwin Naturals® supplement brand, Irwin Nevada also has two other supplement

          23   brands, Nature’s Secret® and Applied Nutrition®. Irwin Nevada’s product line currently includes

          24   over 130 formulas, which are distributed in more than 100,000 retail locations primarily in the

          25   United States and Canada, including health food stores such as Whole Foods, along with mass-

          26   market retailers such as Costco, Walmart, and CVS.

          27          5.      Irwin Nevada has a number of subsidiaries and affiliates, including Irwin Canada,

          28   DAI, and Holdings. Irwin Nevada is the operating entity through which the nutraceutical business is


                                                                  3
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                          Main Document    Page 8 of 60


           1   conducted. Irwin Nevada has management services agreements with Irwin Canada and DAI and

           2   through those agreements, legal, accounting, and other support services are offered.

           3           6.     Additional information detailing the Debtors’ operations and the circumstances

           4   leading to the commencement of the Debtors’ cases is described in greater detail in the concurrently

           5   filed Declaration of Klee Irwin (“Irwin Declaration”).

           6           C.     The Debtor’s Workforce

           7           7.     Presently, the Debtor employs approximately 55 employees, plus 5 independent

           8   contractors, plus 2 temporary employees who are directly compensated through a staffing agency

           9   (the “Staffed Employees” and collectively with the other employees and sub-contractors, the

          10   “Employees”). All of the Debtor’s Employees are located in the United States. The Employees,

          11   other than the Staffed Employees, are all paid on a bi-weekly basis, in arrears, a week after the

          12   payroll period has ended. With regard to the Staffed Employees, the Debtor receives weekly or

          13   monthly invoices directly from the staffing agency, who then in turn pays the Staffed Employees.

          14   The spreadsheet attached as Exhibit 2 to the Irwin Declaration filed concurrently herewith reflects

          15   the pre-petition wages (including payroll taxes) owed to the Employees for the period August 5,

          16   2024 through August 9, 2024. A copy of Exhibit 2 is also attached to this Motion for ease of

          17   reference.

          18           8.     The following Employees are insiders of the Debtor: Klee Irwin, Margareth Irwin,

          19   Leta Paz, Dan Wing, Mark Green, and Marcelo Goncalves (collectively, the “Insider Employees”).

          20   By this Motion, the Debtor seeks authority to pay all obligations pertaining to Employees other than

          21   the Insider Employees. With respect to the Insider Employees, no payments will be made until the

          22   expiration of the notice period with regard to the Notices of Insider Compensation filed for each of

          23   them.

          24           9.     As indicated above and discussed in more detail herein, the Debtor seeks authority to

          25   pay certain prepetition claims for, among other items, wages, salaries, and other compensation

          26   including federal and state withholding taxes, payroll taxes, contributions to employee benefit plans,

          27   retirement plans, accrued paid time off, and all other employment related benefits, which the Debtor

          28   pays or provides in the ordinary course of its business (collectively, “Employee Obligations”).


                                                                  4
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                          Main Document    Page 9 of 60


           1          10.     In addition, the Debtor requests authority to pay the appropriate third parties the

           2   amounts that are deducted and withheld from Employees’ paychecks (“Employee Deductions”),

           3   which are in most instances not property of the Debtor’s estate, and to reimburse Employees for

           4   reimbursable expenses incurred by such employees prepetition in the ordinary course of business

           5   (“Employee Expenses”). By this Motion, the Debtor also seeks the general authority, in its

           6   discretion, to pay or honor the Employee Obligations, including the Employee Deductions and

           7   Employee Expenses with respect to all of its Employees, inclusive of the Insider Employees.

           8          11.     Additionally, the Debtor seeks authority for and direction to applicable banks and

           9   other financial institutions with whom the Debtor does business, in accordance with the Debtor’s

          10   instructions as may be provided by the Debtor, to receive, process, honor, and pay all checks

          11   presented for payment and to honor all electronic payment requests made by the Debtor which are or

          12   relate to the Employee Obligations.

          13          D.      Prepetition Wages

          14          12.     As discussed above, the Debtor employs approximately 55 domestic employees

          15   (some salaried some hourly), 1 individual employed through a staffing agency, and 5 independent

          16   contractors. The Debtor pays its salaried employees bi-weekly for two weeks’ work, one week in

          17   arrears. The Employees, other than the Staffed Employee, are all paid on a bi-weekly basis, in

          18   arrears, a week after the payroll period has ended. With regard to the Staffed Employee, the Debtor

          19   receives weekly or monthly invoices directly from the staffing agency, who then in turn pays the

          20   Staffed Employee.

          21          13.     Also, in the ordinary course of its business, the Debtor deducts from its employees’

          22   paychecks (as applicable): (a) payroll taxes and the employees’ portion of FICA and unemployment

          23   taxes, (b) employee contributions for health and disability related benefits, (c) employee

          24   contributions to 401(k) plans, and (e) other miscellaneous items (collectively, “Employee

          25   Deductions”). The Debtor forwards amounts equal to the Employee Deductions from its operating

          26   accounts to appropriate third-party recipients.

          27          14.     Under ordinary conditions, the Debtor’s next payroll for employees is scheduled for

          28   Friday, August 23, 2024, and relates to the payroll period of August 5, 2024 through August 16,


                                                                  5
3000631
           Case 1:24-bk-11323-VK          Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                Desc
                                          Main Document    Page 10 of 60


           1   2024 (i.e., two weeks’ pay, one week in arrears). This payroll includes amounts for the prepetition

           2   period of August 5, 2024 through August 9, 2024. The Debtor must fund this payroll by 3:00 p.m.

           3   August 20, 2024, in order to ensure Employees are timely paid by August 23, 2024.

           4          15.     The payroll amount associated with this prepetition period of August 5, 2024 through

           5   August 9, 2024 is expected to be in the aggregate amount of approximately $121,383 for employees,

           6   the aggregate amount of approximately $31,967 for independent contractors, and the amount of

           7   approximately $15,994 for the Staffed Employees (collectively referred to as the “Prepetition

           8   Wages”). Attached to the Irwin Declaration as Exhibit 2 is a true and correct spreadsheet reflecting

           9   payroll for the payroll period August 5, 2024 through August 9, 2024.

          10          16.     In sum, the Debtor expects to owe Prepetition Wages in the combined amount of

          11   approximately $169,344. As of the Petition Date, no Employee has a claim of more than $15,150 in

          12   Prepetition Wages on an individual basis.

          13          17.     The Debtor seeks authority to continue with its payroll schedule in the ordinary

          14   course of its business and consequently to pay all Prepetition Wages as planned on the dates

          15   indicated above. In all instances, due to the fact that no single Employee has a claim of more than

          16   $15,150 in Prepetition Wages, the Debtor will not make payroll distributions to any particular

          17   Employee in an amount that would exceed the allowable priority portion of such Employee’s

          18   Prepetition Wages under section 507(a)(4) of the Bankruptcy Code. The Debtor asserts that the

          19   costs associated with paying priority Employee wage claims are relatively minimal compared with

          20   the damage to the Debtor’s estate that would ensue if Employee morale were disrupted by the

          21   Debtor’s failure to meet its payroll obligations.

          22          18.     In addition to the payment of Prepetition Wages, the Debtor is also seeking to be

          23   authorized, but not required, to pay all payroll taxes related to the Prepetition Wages, which the

          24   Debtor estimates to be approximately $9,327. The foregoing payroll taxes are entitled to priority

          25   under section 507(a)(8). See 11 U.S.C. §§ 507(a)(8)(C).

          26          E.      Employee Benefits

          27          19.     The Debtor’s business practice has been to provide its Full-Time Employees with

          28   benefit plans and programs designed to assist them in meeting certain financial burdens and to keep


                                                                   6
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                Desc
                                         Main Document    Page 11 of 60


           1   employee morale positive for the benefit of the Debtor’s business. These programs include, as

           2   detailed below, such standard benefits as paid time-off (intended to include vacation and sick time);

           3   legal holidays; bereavement leave and time off for jury duty; health, vision and dental insurance

           4   benefits; group life and disability insurance; and coverage through state insurance programs,

           5   including workers’ compensation and unemployment insurance (collectively, the “Employee

           6   Benefits”). The employees receive Employee Benefits pursuant to the terms and policies established

           7   by the Debtor. The Debtor seeks authorization, but not direction, to pay or otherwise honor these

           8   Employee Benefits, which are described below.

           9          20.     Medical, Dental, Vision Insurance, Group Life Insurance and Disability. The Debtor

          10   offers all full-time Employees basic medical, dental, and vision insurance, as well as group life and

          11   disability insurance. The Debtor’s medical insurance is provided by Anthem Blue Cross. Unum

          12   provides the Debtor’s vision, life, AD&D, and disability insurance. The Colonial Life, TASC (FSA

          13   and COBRA) and EDIS also provide insurance for the Debtor. A portion of the cost for each

          14   Employee’s insurance is deducted from his or her regular paycheck, and the Debtor contributes a

          15   portion as well. To maintain employee morale and not unfairly impose hardships on its workforce,

          16   the Debtor seeks authority to pay any outstanding unpaid premiums, deductibles, and/or claims with

          17   respect to medical, dental, and vision insurance accrued prepetition, and to continue to honor its

          18   prepetition policies relating to such insurance. The Debtor believes it is current under these

          19   obligations and that there are no arrears with respect to Employees’ insurance. The Debtor pays

          20   approximately $74,500 a month in premiums to Colonial Life, TASC, EDIS, Unum, and Anthem

          21   Blue Cross.

          22          21.     Worker’s Compensation Premiums. Additionally, the Debtor is obligated to pay

          23   worker’s compensation insurance premiums for its Employees. The Debtor owes approximately

          24   $4,697 in monthly worker’s compensation premiums. The Debtor seeks authority to pay this

          25   obligation in the ordinary course of its business as part of its Employee Obligations.

          26          22.     Retirement Benefits Plan. The Debtor offers eligible Employees the opportunity to

          27   participate in a 401(k) Savings and Retirement Plan (“401(k) Plan”). The Debtor forwards amounts

          28   equal to the Employee’s chosen contributions from its operating accounts to appropriate third-party


                                                                  7
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                         Main Document    Page 12 of 60


           1   recipients on behalf of its Employees, and thus seeks authority to continue the 401(k) Plan and

           2   forward any prepetition amounts as necessary. The Debtor’s most recent payroll was paid on the

           3   Petition Date and included $14,325.23 in 401(k) withholdings from employees. However, the ACH

           4   payment to Fidelity did not go through on August 12, 2024. Accordingly, the Debtor seeks authority

           5   to make this payment to Fidelity on the next payroll.

           6          23.     Additionally, approximately $7,970 in 401(k) withholdings will be owed for the

           7   Debtor’s employees for August 5, 2024 through August 9, 2024.

           8          F.      Reimbursable Expenses

           9          24.     Employees may submit certain business-related expenses to the Debtor for

          10   reimbursement. These expenses include, among other things, car rental, meals, business supplies,

          11   and other business-related costs, including those charged by Employees onto corporate credit cards.

          12   These expenses are not submitted to the Debtor until the 16th of each month. Accordingly, the

          13   Debtor does not know the exact amount of prepetition expenses owed to its Employees. At the

          14   beginning of August this year, the Debtor and numerous employees attended an annual major trade

          15   show in the industry, which increases the expenses for August significantly. Based on last year’s

          16   expenses, the Debtor anticipates that it will need to reimburse approximately $95,000 in Employee

          17   expenses for all of August 2024. Accordingly, the Debtor seeks authority, but not direction, to pay

          18   these Employee Expenses and to continue to pay them postpetition in the ordinary course of

          19   business.

          20          G.      Paid Time Off

          21          25.     By the Motion, the Debtor is also seeking authority, but not direction, to permit

          22   Employees to use earned, accrued prepetition vacation time, personal time, sick, bereavement and

          23   other leave in the ordinary course (the “Paid Time Off”). The Debtor anticipates that the Paid Time

          24   Off will continue to accrue post-petition, and requests authority to allow it to be used without

          25   restrictions other than those imposed by the Debtor’s normal human resources policies.

          26          H.      Summary of Employee Obligations.

          27          26.     In summary, the Debtor seeks authority, in its sole discretion, to honor and pay all

          28   “Employee Obligations,” more specifically described as follows:


                                                                  8
3000631
           Case 1:24-bk-11323-VK          Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                   Desc
                                          Main Document    Page 13 of 60


           1                  a.      Honor and pay, when due, all Prepetition Wages;

           2                  b.      Pay the Debtor’s share of applicable employment taxes in connection with the

           3   Prepetition Wages;

           4                  c.      Make all appropriate Employee Deductions and to forward the Employee

           5   Deductions to the appropriate agency or plan administrator, including those related to the 401(k)

           6   Plan;

           7                  d.      Honor and pay, when due, all Employee Expenses;

           8                  e.      Honor all Paid Time Off in the ordinary course of business; and

           9                  f.      Continue providing active employees with the Employee Benefits and to pay,

          10   or otherwise honor, earned prepetition Employee Benefits.

          11   II.     ARGUMENT

          12           27.    Due to the timing of the commencement of this case, certain Employees accrued

          13   prepetition salaries and wages for which payment would otherwise be made postpetition. Other

          14   forms of compensation related to prepetition services, more fully described above, have not yet been

          15   paid to or for the benefit of the Employees because such benefits, although accrued either in whole

          16   or in part prior to the Petition Date, were not payable at such time, but rather will become payable in

          17   the immediate future in the ordinary course of business.

          18           28.    The Debtor submits that the Court has authority to authorize the relief requested

          19   herein in light of the prejudice that will result to the Debtor if it is not permitted to honor and pay the

          20   Employee Obligations. Furthermore, no prejudice will result to the Debtor’s bankruptcy estate

          21   because the Employee Obligations are priority claims under Bankruptcy Code section 507(a)(4),

          22   which are paid prior to payments to general unsecured creditors.

          23           A.     The Court Has Authority to Authorize Payment of Employee Obligations.

          24           29.    Pursuant to section 105(a) of the Bankruptcy Code, the Court may “issue any order,

          25   process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

          26   U.S.C. § 105(a). Where business exigencies require, courts have exercised their equitable powers

          27   under section 105(a) to authorize debtors to pay prepetition claims of particular creditors essential to

          28   continued operations, including those of employee claims for prepetition wages. See In re


                                                                    9
3000631
           Case 1:24-bk-11323-VK           Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                Desc
                                           Main Document    Page 14 of 60


           1   Ionosphere Clubs, Inc., 98 B.R. 174 (Bankr. S.D.N.Y. 1989). This “necessity of payment doctrine,”

           2   which empowers courts to authorize a debtor to pay prepetition claims, is critical to any non-

           3   liquidating chapter 11 case, because it permits “‘immediate payment of claims of creditors where

           4   those creditors will not supply services or materials essential to the conduct of the business until

           5   their pre-reorganization claims have been paid.’” Id. at 176 (quoting In re Lehigh & New England

           6   Railway Co., 657 F.2d 570, 581 (3d Cir. 1981)). Indeed, continued operation and rehabilitation of

           7   the debtor is a paramount goal in chapter 11 bankruptcies. See In re Ionosphere Clubs, Inc., 98 B.R.

           8   at 176. See also In re Chateaugay Corp., 116 B.R. 887, 989 (Bankr. S.D.N.Y. 1990) (“[E]mployee

           9   good will and contentment is an asset which is vital to the continuation of a debtor’s business

          10   operation and its ability to effectively reorganize during the Chapter 11 process.”); In re Gulf Air,

          11   Inc., 112 B.R. 152, 153 (Bankr. W.D. La. 1989) (payment of employee prepetition wages is

          12   permissible in light of the fact that “retention of skills, organization, and reputation for performance

          13   must be considered valuable assets contributing to going concern value and aiding rehabilitation

          14   where that is possible”).

          15          30.     Furthermore, Bankruptcy Courts in the Central District of California authorize a

          16   debtor’s payment of prepetition wages and obligations where such request is supported by evidence

          17   that establishes the following:

          18
                              (A) The employees are still employed;
          19
                              (B) The necessity for payment;
          20
                              (C) The benefit of the procedures;
          21                  (D) The prospect of reorganization;
          22                  (E)   Whether the employees are insiders;
                              (F)   Whether the employees’ claims are within the limits
          23
                                    established by section 507 of the Bankruptcy Code; and
          24                  (G) The payment will not render the estate administratively
                                  insolvent.
          25

          26   See Local Bankruptcy Rule 2080-1(a)(6). The Debtor respectfully submits that the relief requested

          27   herein is appropriate and necessary in light of the foregoing.

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                                                                  10
3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                         Main Document    Page 15 of 60


           1          31.     As noted above, the Debtor’s goal in this chapter 11 case is to reorganize its affairs

           2   and continue operating as a successful nutraceuticals company. It is imperative to the

           3   accomplishment of the Debtor’s goal in its case that the Debtor’s employees make a smooth

           4   transition into the chapter 11 process. Any disruption to payment of Employee Obligations will

           5   prove destructive to the Debtor’s goals herein because it will hurt employee morale at a particularly

           6   sensitive time for all employees, especially considering the small number of Employees employed

           7   by the Debtor. Indeed, each Employee is crucial to the continuation of Debtor’s business operations.

           8   Due to the timing of the filing of this case, certain Employee Obligations may have accrued, but

           9   were unpaid prior to the Petition Date. If the Debtor is not permitted to meet all payroll-related

          10   obligations in the ordinary course of business, the Debtor could suffer unmanageable employee

          11   outrage or turnover to the detriment of all parties to the Debtor’s bankruptcy estate. Any significant

          12   disruption will adversely impact the Debtor’s business and result in immediate and irreparable harm

          13   to the estate. Simply put, Debtor’s Employees are essential to the Debtor being able to continue its

          14   business operations and thus successfully reorganize, and thus approval for payment of ongoing

          15   Employee Obligations is critical to the Debtor’s success in this case.

          16          32.     The Debtor submits that the amounts to be paid pursuant to the Employee Obligations

          17   are relatively small in light of the importance and necessity of preserving the Employees’ services

          18   and morale, and the difficulties and losses the Debtor will suffer if Employees leave. Even the

          19   slightest delay in providing this relief to its Employees will hamper operations and damage the

          20   Debtor’s estate. These payments will not render this estate administratively insolvent.

          21          33.     Additionally, the Debtor proposes to make immediate payment of Employee

          22   Obligations for non-insider employees only, all of whom are currently employed by the Debtor. The

          23   Debtor will not make payments to Insider Employees until after the notice period has passed

          24   regarding the Notices of Insider Compensation filed concurrently herewith.

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3000631
           Case 1:24-bk-11323-VK         Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                 Desc
                                         Main Document    Page 16 of 60


           1          B.      The Estate Will Suffer No Prejudice As a Result of the Motion Because the

           2                  Prepetition Wages, Employee Benefits, and Employee Expenses are Priority

           3                  Claims Under Bankruptcy Code Section 507(a)(4).

           4          34.     Furthermore, the bankruptcy estate—specifically the general unsecured creditors of

           5   this case—will suffer no prejudice if the relief requested herein is granted because the Prepetition

           6   Wages, Employee Benefits, and Employee Expenses are entitled to a priority under section 507(a)(4)

           7   of the Bankruptcy Code. Indeed, each Employee is entitled to a priority claim for:

           8                  [A]llowed unsecured claims, but only to the extent of
                              $[15,150] . . . earned within 180 days before the date of the filing
           9                  of the petition or the date of the cessation of the debtor’s business,
                              whichever occurs first, for–
          10
                              (A) wages, salaries, or commissions, including vacation,
          11                  severance, and sick leave pay earned by an individual; or
          12                  (B) sales commissions earned by an individual . . . acting as an
                              independent contractor in the sale of goods or services for the
          13                  debtor in the ordinary course of the debtor’s business if, and only
                              if, during the 12 months preceding that date, at least 75 percent of
          14                  the amount that the individual or corporation earned by acting as
                              an independent contractor in the sale of goods or services was
          15                  earned from the debtor.
          16   11 U.S.C. § 507(a)(4). To the extent the Prepetition Wages and related payments for which the

          17   Debtor seeks authority to pay were earned within 180 days of the Petition Date, Employees’ claims

          18   for payment of such compensation are entitled to priority pursuant to the above. The Debtor’s

          19   request for authority to pay these claims now therefore merely constitutes a request to accelerate

          20   payment to avoid the devastation of employee morale and the operation of Debtor’s business.

          21   Moreover, the maintenance of Employee morale and adequate staffing preserves the going concern

          22   value of the business which ultimately inures to the benefit of Debtor’s creditors.

          23          35.     It should be noted that the same analysis should be applied to the wages earned by the

          24   Staffed Employee. While one of the Debtor’s Employees are technically employed by staffing

          25   agencies and the Debtor does not pay that Employee directly, the wages of the Staffed Employee are

          26   no different than traditional employees and should be treated analogously. Indeed, these employees

          27   are just as critical to the Debtor’s ongoing operations as the salaried and hourly employees directly

          28   employed by the Debtor. See, e.g., In re News Publishing Company, 488 B.R. 241, 245 (Bankr.


                                                                 12
3000631
           Case 1:24-bk-11323-VK          Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                  Desc
                                          Main Document    Page 17 of 60


           1   N.D. Ga. 2013) (in ruling on debtor’s motion for authority to pay critical vendors, the bankruptcy

           2   court authorized the debtor’s partial payment to staffing agency that was one of the largest creditors

           3   of the debtor where the partial payment was attributable to employee wages, on grounds that

           4   “[a]lthough these employees were not employed by Debtor, they were the functional equivalent of

           5   Debtor’s employees,” and “[h]ad they been actual employees of the Debtor, their claims would have

           6   been entitled to priority status under [section 507(a)(4)(A)]”)

           7          36.     The Debtor’s relationship with its Employees, including the terms and conditions of

           8   their employment, are matters subject to the Debtor’s business judgment and may be managed by the

           9   Debtor in the ordinary course of its business. See In re All Seasons Industries, Inc., 121 B.R. 822,

          10   825–26 (Bankr. N.D. Ind. 1990); In re Pacific Forest Industries, Inc., 95 B.R. 740, 743 (Bankr. C.D.

          11   Cal. 1989) (“Employees do not need court permission to be paid and are usually paid as a part of the

          12   ongoing operation of the business.”). The maintenance of Debtor’s Employee Benefits is an

          13   important part of the Debtor’s relationship with its Employees that is within its business judgment,

          14   as is the Debtor’s ability to continue honoring its Paid Time Off policies for the benefit of its eligible

          15   Employees.

          16          C.      Honoring of Checks and Transfers Related to Employee Obligations and

          17                  Maintenance of Payroll Accounts.

          18          37.     The Debtor requests that all applicable banks and other financial institutions be

          19   authorized and directed to receive, process, honor, and pay all checks presented for payment and to

          20   honor all transfer requests made by the Debtor related to Employee Obligations, whether such

          21   checks were presented or fund transfer requests were submitted prior to or after the Petition Date

          22   (including checks that have been presented and dishonored). The Debtor represents that these

          23   checks are drawn on an identifiable payroll account. Accordingly, checks other than those for

          24   Employee Obligations will not be honored inadvertently. Moreover, pursuant to a budget that the

          25   Debtor filed with the Court as part of its motion to approve use of cash collateral, the Debtor expects

          26   to have sufficient funds to pay all Employee Obligations on an ongoing basis and in the ordinary

          27   course of business.

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3000631
           Case 1:24-bk-11323-VK          Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                  Desc
                                          Main Document    Page 18 of 60


           1          D.      The ADP Agreement Should Be Assumed Under Section 365 of the Bankruptcy

           2                  Code

           3          38.     Section 365(a) of the Bankruptcy Code provides that a debtor may assume or reject

           4   any executory contract or unexpired lease of the debtor subject to the approval of the bankruptcy

           5   court. 11 U.S.C. § 365(a) ("[T]he trustee [or debtor in possession], subject to the court's approval,

           6   may assume or reject any executory contract or unexpired lease of the debtor."). Although section

           7   365(a) does not provide a standard for determining whether a debtor may assume or reject an

           8   executory contract or unexpired lease, courts generally approve a debtor's decision to assume or

           9   reject upon a showing that such debtor exercised its sound business judgment. See In re Pomona

          10   Valley Med. Group, Inc., 476 F3d 665, 670 (9th Cir. 2007); In re G.I. Indus., Inc., 204 F3d 1276,

          11   1282 (9th Cir. 2000). In conducting an evaluation under the business judgment test, “the bankruptcy

          12   court should presume that the debtor-in-possession acted prudently, on an informed basis, in good

          13   faith, and in the honest belief that the action taken was in the best interests of the bankruptcy estate.”

          14   Pomona Valley Med. Grp., Inc., 476 F.3d at 670. Thus, courts provide great deference to a debtor’s

          15   decision to assume or reject a lease or executory contract. See, e.g., Summit Land Co. v. Allen (In re

          16   Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (noting that, absent extraordinary

          17   circumstances, court approval of a debtor’s decision to assume or reject an executory contract

          18   “should be granted as a matter of course”).

          19          39.     In May 2024, the Debtor entered into an agreement with ADP, Inc. (“ADP”) for ADP

          20   to provide the Debtor with payroll services. Attached to the Irwin Declaration as Exhibit 3 is a true

          21   and correct copy of the ADP Agreement. For ease of reference, a copy of the ADP Agreement is

          22   attached hereto as Exhibit 3. ADP administers and manages the Debtor’s payroll and all Employee

          23   Benefits. If ADP were to discontinue services the harm to the Employees would be tremendous,

          24   which could potentially result in a delay of payroll or a disruption of Employee benefits.

          25   Accordingly, the Debtor seeks to assume the ADP Agreement. The Debtor’s decision to assume the

          26   ADP Agreement is a valid exercise of the Debtor’s business judgment. The Debtor is current on all

          27   pre-petition obligations to ADP under the ADP Agreement and therefore no cure amount pursuant to

          28   section 365(b) of the Bankruptcy Code will need to be paid to assume the agreement. The ADP


                                                                  14
3000631
           Case 1:24-bk-11323-VK           Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                   Desc
                                           Main Document    Page 19 of 60


           1   agreement also may be terminated by the Debtor upon 30 days’ written notice by the Debtor.

           2   Accordingly, the Debtor believes that assumption of the ADP Agreement represents a sound exercise

           3   of the Debtor’s business judgment and is in the best interest of the Debtor, its bankruptcy estate and

           4   all creditors.

           5           E.       The Order Should Be Effective Immediately

           6           40.      Bankruptcy Rule 6003 provides that the relief requested in this Motion may be

           7   granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003.

           8   The Debtor submits that for the reasons already set forth herein, the relief requested in this Motion is

           9   necessary to avoid immediate and irreparable harm to the Debtor.

          10           41.      The Debtor further seeks a waiver of any stay of the effectiveness of the order

          11   approving this Motion. Pursuant to Rule 6004(h) of the Bankruptcy Rules, “[a]n order authorizing

          12   the use, sale, or lease of property other than cash collateral is stayed until the expiration of fourteen

          13   (14) days after entry of the order, unless the court orders otherwise.” As set forth above, the relief

          14   requested herein is essential to prevent irreparable damage to the Debtor’s operations, going concern

          15   value, and its efforts to pursue a restructuring of its assets and liabilities. Thus, the relief sought in

          16   this Motion is appropriate under these circumstances.

          17   III.    CONCLUSION

          18           Based on the foregoing, the Debtor respectfully requests that the Court enter an order

          19   granting the Motion in its entirety and:

          20           1.       Authorizing, but not directing, Debtor to pay or honor in its discretion certain

          21   Employee Obligations more specifically described in the Motion,

          22           2.       Authorizing and directing the applicable banks and other financial institutions to

          23   receive, process, honor, and pay all checks presented for payment and to honor all electronic

          24   payment requests made by the Debtor relating to the foregoing,

          25           3.       Approving the assumption of the ADP Agreement in connection with the employee

          26   compensation and benefits,

          27           4.       Waiving any stay of the effectiveness of the order granting this Motion pursuant to

          28   Bankruptcy Rule 6004(h), and


                                                                    15
3000631
           Case 1:24-bk-11323-VK           Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25              Desc
                                           Main Document    Page 20 of 60


           1          5.        Granting such other and further relief as the Court deems just and proper under the

           2   circumstances.

           3   DATED: August 15, 2024                          BG LAW LLP
           4

           5                                                   By:__/s/ Jessica S. Wellington_________________
                                                                   David M. Poitras
           6                                                       Susan K. Seflin
                                                                   Jessica S. Wellington
           7                                                   Proposed Attorneys for Chapter 11 Debtors and
                                                               Debtors in Possession
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3000631
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 21 of 60




                         EXHIBIT 




                                     17
           Case 1:24-bk-11323-VK                   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25                                        Desc
                                                   Main Document    Page 22 of 60


August 05, 2024 to August 09, 2024
EMPLOYEES                                                                                           6.20%            1.45%
                                                               STATE                                          Medicare ER
              Payroll Name            File Number Rate Type WORK IN    TOTAL Wages        SS ER Expense        Expense      ER SUI Expense Total Insider
Redacted                             000124       Salary    AZ               $ 2,031.47            $ 125.95        $ 29.46
Redacted                             001678       Hourly    CA                 $770.55              $ 47.77        $ 11.17
Redacted                             001537       Hourly    CA                 $813.55              $ 50.44        $ 11.80
Redacted                             001649       Hourly    CA                 $793.35              $ 49.19        $ 11.50
Redacted                             000177       Hourly    CA              $1,281.00               $ 79.42        $ 18.57
Redacted                             001661       Hourly    CA              $1,152.00               $ 71.42        $ 16.70
Redacted                             000188       Hourly    CA                 $910.36              $ 56.44        $ 13.20
Redacted                             000113       Hourly    CA              $1,226.81               $ 76.06        $ 17.79
Redacted                             000221       Hourly    CA              $1,101.61               $ 68.30        $ 15.97
Redacted                             000119       Hourly    CA                 $919.60              $ 57.02        $ 13.33
Redacted                             001624       Hourly    CA              $1,354.36               $ 83.97        $ 19.64
Redacted                             000145       Hourly    CA                 $994.18              $ 61.64        $ 14.42
Redacted                             001564       Hourly    CA                 $821.54              $ 50.94        $ 11.91
Redacted                             001523       Hourly    CA                 $821.54              $ 50.94        $ 11.91
Redacted                             001528       Hourly    CA                 $166.93              $ 10.35          $ 2.42
Redacted                             001687       Hourly    CA                 $923.20              $ 57.24        $ 13.39
Redacted                             001639       Salary    CA                 $220.38              $ 13.66          $ 3.20
Redacted                             000102       Salary    CA               $ 1,358.32             $ 84.22        $ 19.70
Redacted                             001497       Salary    CA               $ 3,846.16            $ 238.46        $ 55.77
Redacted                             001555       Salary    CA               $ 1,201.93             $ 74.52        $ 17.43
Redacted                             001633       Salary    CA               $ 2,661.55            $ 165.02        $ 38.59
Redacted                             000106       Salary    CA               $ 1,384.62             $ 85.85        $ 20.08
Redacted                             000185       Salary    CA               $ 2,729.08            $ 169.20        $ 39.57
Redacted                             001542       Salary    CA               $ 2,403.85            $ 149.04        $ 34.86
Redacted                             000108       Salary    CA               $ 1,423.36             $ 88.25        $ 20.64
Redacted                             001657       Salary    CA               $ 2,627.82            $ 162.92        $ 38.10
Redacted                             000114       Salary    CA               $ 1,565.72             $ 97.07        $ 22.70
Redacted                             001691       Salary    CA               $ 2,884.62            $ 178.85        $ 41.83
Redacted                             000116       Salary    CA                 $ 974.19             $ 60.40        $ 14.13
Redacted                             001645       Salary    CA               $ 1,391.36             $ 86.26        $ 20.17
M. Goncalves ‐ Insider Relative      000120       Salary    CA               $ 1,742.08            $ 108.01        $ 25.26                   $ 1,742.08
Redacted                             000125       Salary    CA               $ 1,627.74            $ 100.92        $ 23.60
Redacted                             000128       Salary    CA               $ 1,083.53             $ 67.18        $ 15.71
K. Irwin ‐ CEO                       000130       Salary    CA               $ 7,692.31            $ 476.92       $ 111.54                   $ 7,692.31
M. Irwin ‐ Insider Relative          001688       Salary    CA               $ 1,923.08            $ 119.23        $ 27.88                   $ 1,923.08
Redacted                             000131       Salary    CA               $ 3,748.54            $ 232.41        $ 54.35
Redacted                             000132       Salary    CA               $ 1,509.24             $ 93.57        $ 21.88
Redacted                             001605       Salary    CA               $ 1,718.32            $ 106.54        $ 24.92
Redacted                             001690       Salary    CA               $ 1,778.85            $ 110.29        $ 25.79
Redacted                             000138       Salary    CA               $ 2,734.42            $ 169.53        $ 39.65
Redacted                             001521       Salary    CA               $ 3,169.40            $ 196.50        $ 45.96
Redacted                             000175       Salary    CA               $ 1,289.62             $ 79.96        $ 18.70
Redacted                             001681       Salary    CA               $ 4,326.93            $ 268.27        $ 62.74
Redacted                             000220       Salary    CA               $ 1,295.01             $ 80.29        $ 18.78
L. Paz ‐ Insider Relative            001692       Salary    CA               $ 1,750.00            $ 108.50        $ 25.38                   $ 1,750.00
Redacted                             000150       Salary    CA               $ 1,382.41             $ 85.71        $ 20.04
Redacted                             001593       Salary    CA               $ 1,901.73            $ 117.91        $ 27.58
Redacted                             001631       Salary    CA               $ 3,234.47            $ 200.54        $ 46.90
Redacted                             000162       Salary    CA               $ 3,935.39            $ 243.99        $ 57.06
Redacted                             000163       Salary    CA               $ 3,079.42            $ 190.92        $ 44.65
Redacted                             001551       Salary    CA               $ 3,365.39            $ 208.65        $ 48.80
Redacted                             000164       Salary    CA               $ 1,394.24             $ 86.44        $ 20.22
D. Wing ‐ COO                        000169       Salary    CA               $ 5,056.28            $ 313.49        $ 73.32                   $ 1,750.00
Redacted                             001675       Salary    CA               $ 2,019.24            $ 125.19        $ 29.28
Redacted                             000172       Salary    CA               $ 1,655.69            $ 102.65        $ 24.01
Redacted                             001614       Hourly    CO                 $494.88              $ 30.68          $ 7.18           12.62
Redacted                             000206       Salary    FL               $ 1,319.89             $ 81.83        $ 19.14
Redacted                             000193       Salary    IL               $ 2,937.77            $ 182.14        $ 42.60
Redacted                             000104       Salary    TX               $ 5,769.24            $ 357.69        $ 83.65            14.42
Redacted                             001651       Salary    VA               $ 1,866.77            $ 115.74        $ 27.07
Redacted                             001609       Salary    WA               $ 1,826.93            $ 113.27        $ 26.49            14.62
                                                                          $ 121,383.69           $ 7,525.79     $ 1,760.06            41.66
            Case 1:24-bk-11323-VK                   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25          Desc
                                                    Main Document    Page 23 of 60


                                 Amount

Estimated Employer 401k
Contribution (8/5/24 ‐ 8/9/24)    $14,325.23

Estimated Employer 401k
Contribution (8/5/24 ‐ 8/9/24)     $7,970.52


Reimbursed Expenses (estimate)         $95,000

INDEPENDENT CONTRACTORS
Independent Contractor           File Number     Rate Type   STATE WORTOTAL Wages      Total Insider
CYM Business Solutions           N/A             IC          CA                 $2,208
Mark Green ‐ CFO                 N/A             IC          CA                 $6,096              $6,096
James Q.                         N/A             IC          CA                 $8,000
Pam K.                           N/A             IC          MI             $12,000.00
Richard C.                       N/A             IC          CA              $3,663.36

AGENCY WAGES
Agency                           Last Name       First Name Period      TOTAL Wages      Total Insider
                                                            July 1,
Select Staffing                  N/A                        2024 ‐ July       $15,288.00
                                                            July 31,
Aston Carter                     N/A                        2024 ‐               $706.80
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 24 of 60




                         EXHIBIT 



                                     19
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 25 of 60




                                     20
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 26 of 60




                                     21
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 27 of 60




                                     22
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 28 of 60




                                     23
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 29 of 60




                                     24
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 30 of 60




                                     25
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 31 of 60




                                     26
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 32 of 60




                                     27
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 33 of 60




                                     28
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 34 of 60




                                     29
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 35 of 60




                                     30
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 36 of 60




                                     31
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 37 of 60




                                     32
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 38 of 60




                                     33
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 39 of 60




                                     34
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 40 of 60




                                     35
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 41 of 60




                                     36
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 42 of 60




                                     37
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 43 of 60




                                     38
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 44 of 60




                                     39
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 45 of 60




                                     40
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 46 of 60




                                     41
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 47 of 60




                                     42
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 48 of 60




                                     43
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 49 of 60




                                     44
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 50 of 60




                                     45
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 51 of 60




                                     46
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 52 of 60




                                     47
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 53 of 60




                                     48
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 54 of 60




                                     49
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 55 of 60




                                     50
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 56 of 60




                                     51
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 57 of 60




                                     52
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 58 of 60




                                     53
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 59 of 60




                                     54
Case 1:24-bk-11323-VK   Doc 20 Filed 08/15/24 Entered 08/15/24 11:30:25   Desc
                        Main Document    Page 60 of 60




                                     55
